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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )             8:05CR131
                      Plaintiff,                     )
                                                     )
       vs.                                           )           REPORT AND
                                                     )
MOLLIE MOLER,                                        )       RECOMMENDATION
                                                     )
                      Defendant.                     )



       On September 28, 2005, defendant Mollie Moler (Moler), together with her counsel,
Susan M. Bazis, appeared before the undersigned magistrate judge and was advised of the
charges, the penalties and the right to appear before a United States District Judge. After
orally consenting to proceed before a magistrate judge, Moler entered a plea of guilty to
Count I of the Indictment.
       After being sworn, Moler was orally examined by the undersigned magistrate judge in
open court as required by Federal Rule of Criminal Procedure 11. Moler also was given the
advice required by that Rule. Finally, Moler was given a full opportunity to address the court
and ask questions.
       Counsel for the government and counsel for Moler were given the opportunity to
suggest additional questions by the court. Moreover, both counsel orally certified that they
were of the opinion that the plea was knowing, intelligent and voluntary, and that there was a
factual basis for Moler’s plea of guilty to Count I of the Indictment.
       Therefore, I find and conclude that: (1) the plea is knowing, intelligent, and voluntary; (2)
there is a factual basis for the plea; (3) the provisions of Rule 11 and any other provisions of
the law governing the submission of guilty pleas have been complied with; (4) a petition to
enter a plea of guilty, on a form approved by the court, was completed by Moler, Moler’s
counsel and counsel for the government, and such petition was placed in the court file (Filing
No. 99); (5) the plea agreement is in writing and is filed in the court file (Filing No. 100); (6)
there were no other agreements or stipulations other than as contained in the written plea
agreement.
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       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
       1.      She accept the guilty plea and find the defendant, Mollie Moler, guilty of the
crime set forth in Count I of the Indictment to which Moler tendered a guilty plea;
       2.      She not accept the written plea agreement at this time as it contains a provision
under Fed. R. Crim. P. 11(c)(1)(C), but rather she consider the agreement at the time of
sentencing.


                                          ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall be
filed with the Clerk of the Court within ten (10) days after being served with a copy of this
Report and Recommendation. Failure to timely object may constitute a waiver of any such
objection. The brief in support of any objection shall be filed at the time of filing such objection.
Failure to file a brief in support of any objection may be deemed an abandonment of the
objection.
       DATED this 28th day of September, 2005.
                                                      BY THE COURT:
                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge




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